Case 18-65224-jrs     Doc 57 Filed 09/10/20 Entered 09/10/20 07:58:03               Desc Main
                      UNITED Document
                              STATES BANKRUPTCY
                                           Page 1 of 4 COURT
                        NORTHERN DISTRICT OF GEORGIA
                                ATLANTA DIVISION


IN RE:                                             )   CHAPTER 13
TRENT ONDREA JONES                                 )   CASE NUMBER A18-65224-JRS
BRIDGET LASHELL JONES                              )
   DEBTORS                                         )



                                   MOTION TO DISMISS
    COMES NOW Nancy J. Whaley, Standing Chapter 13 Trustee, in the above styled case, and
respectfully shows the Court as follows:

                                             1.

   Debtors filed a petition for relief under Chapter 13 of Title 11.

                                              2.

    Debtors' Plan will exceed sixty months by five (5) months in violation of 11 U.S.C. 1322(d)
(2)(C) and 11 U.S.C. 1307(c).


                                              3.

   Debtors have failed to tender all plan payments due in accordance with the confirmed plan.
As of 9/10/2020 the Trustee received a total of $19,920.14. The Trustee's records indicate the
amount delinquent is $1,264.51. A receipt history is attached and marked exhibit A.


    Wherefore, the Trustee prays that this case be dismissed or in alternative that the Debtors
propose a modification to meet the requirements of the confirmed plan that ensures that the plan
is completed within the allowable time.

This the 10th day of September, 2020.


 /s/________________________________________
   Maria C. Joyner
   Attorney for the Chapter 13 Trustee
   State Bar No. 118350
   303 Peachtree Center Avenue, NE
   Suite 120
   Atlanta, GA 30303
   678-992-1201
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                                 EXHIBIT "A"



CASE NO: A18-65224-JRS                                           09/10/2020
TRENT ONDREA JONES AND
BRIDGET LASHELL JONES
                RECEIPT HISTORY OVER THE LAST 12 MONTHS

DATE                    TYPE              SOURCE               AMOUNT

June 02, 2020          ACHEMP          9KW 0006350522W-NSPIRE OUTREACH
                                                                    $470.78
May 19, 2020           ACHEMP          9KW 0006350508W-NSPIRE OUTREACH
                                                                    $470.78
May 06, 2020           EMPH            54817                        $470.78
April 14, 2020         EMPH            54803                        $470.78
April 01, 2020         EMPH            54779                        $470.78
March 23, 2020         EMPH            54752                        $470.78
March 09, 2020         EMPH            54720                        $470.78
February 19, 2020      EMPH            54681                        $470.78
February 10, 2020      EMPH            54645                        $470.78
January 09, 2020       EMPH            54576                        $470.78
December 30, 2019      EMPH            54539                        $470.78
December 12, 2019      EMPH            54498                        $470.78
December 02, 2019      EMPH            54454                        $470.78
November 14, 2019      EMPH            54412                        $466.37
November 04, 2019      EMPH            54375                        $470.78
October 18, 2019       EMPH            54339                        $470.78
October 01, 2019       EMPH            54308                        $470.78
September 19, 2019     EMPH            54272                        $470.78

                                      Receipt Total:              $8,469.63
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                        UNITED STATES BANKRUPTCY COURT
                         NORTHERN DISTRICT OF GEORGIA
                                ATLANTA DIVISION


IN RE:                                           )    CHAPTER 13
TRENT ONDREA JONES                               )    CASE NUMBER A18-65224-JRS
BRIDGET LASHELL JONES                            )
   DEBTORS                                       )




                NOTICE OF HEARING ON MOTION TO DISMISS CASE

PLEASE TAKE NOTICE that the Chapter 13 Trustee has filed a Motion to Dismiss and related
exhibits with the Court seeking an Order of Dismissal.

PLEASE TAKE FURTHER NOTICE that the Court will hold a hearing on October 06, 2020 at
10:00 AM in Courtroom 1404, Richard Russell Building, 75 Ted Turner Drive, S.W.,
Atlanta, GA. 30303. Given the current public health crisis, hearings may be telephonic only.
Please check the “Important Information Regarding Court Operations During COVID-19
Outbreak" tab at the top of the GANB Website prior to the hearing for instructions on whether
to appear in person or by phone.

Failure to appear at the hearing or failure to resolve the matter prior to the hearing may result in
the dismissal of your case. You should read this motion carefully and discuss it with your
attorney, if you have one in your bankruptcy case. (If you do not have an attorney, you may
wish to consult one.) If you do not want the Court to grant the dismissal of your case, you
and/or your attorney must attend the hearing unless you have settled the matter prior to the
hearing.


This the 10th day of September, 2020.


/s/________________________________________
  Maria C. Joyner
  Attorney for the Chapter 13 Trustee
  State Bar No. 118350
  303 Peachtree Center Avenue, NE
  Suite 120
  Atlanta, GA 30303
  678-992-1201
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                                CERTIFICATE OF SERVICE
Case No: A18-65224-JRS

I certify that on this day I caused a copy of this Chapter 13 Trustee's Motion to Dismiss to be
served via United States First Class Mail with adequate postage prepaid on the following parties
at the address shown for each:




TRENT ONDREA JONES
BRIDGET LASHELL JONES
P.O. BOX 80082
ATLANTA, GA 30366



I further certify that I have on this day electronically filed the foregoing Chapter 13 Trustee's
Motion to Dismiss using the Bankruptcy Court’s Electronic Case Filing program, which sends
a notice of this document and an accompanying link to this document to the following parties
who have appeared in this case under the Bankruptcy Court’s Electronic Case Filing program:

Attorney for the Debtor(s):

GINSBERG LAW OFFICE, PC




This the 10th day of September, 2020.


/s/____________________________________
  Maria C. Joyner
  Attorney for the Chapter 13 Trustee
  State Bar No. 118350
  303 Peachtree Center Avenue, NE
  Suite 120
  Atlanta, GA 30303
  678-992-1201
